                       Case 23-11069-CTG                              Doc 1667                Filed 01/08/24                   Page 1 of 1


United States Bankruptcy Court for the District of Delaware

                                                           WITHDRAWAL OF CLAIM

       Debtor Name and Case Number:                               Yellow Corporation 23-11069

                                                                 Mothers Polishes Waxes Cleaners
                                                                 5456 Industrial Drive
             Creditor Name and Address:
                                                                 Huntington Beach CA 92649

                                                                 11772
      Court Claim Number (if known):

                               Date Claim Filed:                 9/29/23

           Total Amount of Claim Filed:                           19,632.12


I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
creditor. I hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above-
referenced Debtor.

                                                                                                    Gloria Montano
             1/8/2024
Dated: ________________________                                                 ___________________________________
                                                                                                        Gloria Montano
                                                                                Print Name: ________________________
                                                                                                                    Authorized Agent
                                                                                Title (if applicable): __________________

------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                      DEFINITIONS
Debtor
The person, corporation, or other entity that has filed a bankruptcy case is called the debtor.

Creditor
A creditor is any person, corporation, or other entity to which the debtor owed a debt.

Proof of Claim
A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a
creditor (the amount of the creditor's claim).

            ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM
Court, Name of Debtor and Case Number:
Fill in the name of the federal judicial district where the bankruptcy case was filed (for example, Central District of California), the name of the
debtor in the bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near
the top of the notice.

Information about Creditor:
Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim form.

Information identifying the Claim that is to be withdrawn:
Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be
withdrawn.

Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
of attorney, if any).

This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
court in the above-referenced bankruptcy proceeding.
